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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

JOE ANDREW SALAZAR,                           §
                                              §
       Plaintiff,                             §
                                              §
v.                                            §            No. 2:16-CV-01096-JRG-RSP
                                              §
HTC CORPORATION,                              §
                                              §
       Defendants.                            §

                             MEMORANDUM OPINION

       In this patent case, Plaintiff Joe Salazar moves to exclude certain testimony of HTC

Corporation’s technical and damages experts. Pl.’s Mot. to Exclude Testimony of

Christopher Bakewell [Dkt. # 162]; Pl.’s Mot. to Exclude Testimony of Andrew Wolfe

[Dkt. # 164]. Having considered the parties’ briefing with respect to each expert, the Court

will deny both motions.

I.     BACKGROUND

       Salazar accuses HTC Corporation of infringing U.S. Patent 5,802,467 by making

and selling various models of smartphones. Second Am. Compl. [Dkt. # 44] ¶ 7. The ’467

Patent relates to a system for two-way communication with appliances, such as intercoms,

televisions, sound systems, and the like. See, e.g., ’467 Patent fig.1b. According to the

patent, prior-art devices communicated with such appliances only using one-way

communication, and usually with only one of an infrared (IR) signal or a radio frequency




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(RF) signal. Id. at 1:18–50. Relative to the prior art, the ’467 Patent considered full two-

way communication directly with an appliance using IR or RF links to be significantly

advantageous. Id. at 1:51–2:11.

       Salazar’s motions specifically relate to two limitations of the asserted claims. First,

the claims require an IR transceiver, ’467 Patent at 26:13–17, which Salazar calls “uniquely

attractive” to consumers when fully integrated with “otherwise commonly available

smartphone technology,” Pl.’s Motion [Dkt. # 162] at 6. With respect to that limitation,

Salazar contends both Christopher Bakewell (HTC’s damages expert) and Dr. Andrew

Wolfe (HTC’s technical expert) reach improper conclusions about whether an “acceptable”

non-infringing alternative must include an IR transceiver. 1 See generally Pl.’s Motion [Dkt.

# 162] at 4–7; Pl.’s Motion [Dkt. # 164] at 8–9. Second, the claims require “a memory

device . . . configured to store a plurality of parameter sets retrieved by [a]

microprocessor.” ’467 Patent at 26:1–6 (emphasis added). As to that limitation, Salazar

contends Wolfe’s non-infringement analysis interprets “configured to” in a manner

contrary to the Court’s claim construction order. Pl.’s Motion [Dkt. # 164] at 5–7.

II.    APPLICABLE LAW

       An expert witness may provide opinion testimony if “(a) the expert’s scientific,

technical, or other specialized knowledge will help the trier of fact to understand the


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  In his replies, Salazar for the first time argues the proposed non-infringing alternatives
were not available during the period of infringement. See Pl.’s Reply [Dkt. # 184] at 4–5;
Pl.’s Reply [Dkt. # 186] at 4–5. The Court, however, rejects this argument as untimely
given Salazar did not raise it until his reply briefs.



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evidence or to determine a fact in issue; (b) the testimony is based on sufficient facts or

data; (c) the testimony is the product of reliable principles and methods; and (d) the expert

has reliably applied the principles and methods to the facts of the case.” Fed. R. Evid. 702.

Rule 702 requires a district court to make a preliminary determination, when requested, as

to whether the requirements of the rule are satisfied with regard to a particular expert’s

proposed testimony. See Kumho Tire Co. v. Carmichael, 526 U.S. 137, 149 (1999); Daubert

v. Merrell Dow Pharm., Inc., 509 U.S. 579, 592–93 (1993).

       District courts are accorded broad discretion in making Rule 702 determinations.

Kumho Tire, 526 U.S. at 152 (“[T]he trial judge must have considerable leeway in deciding

in a particular case how to go about determining whether particular expert testimony is

reliable.”). Although the Fifth Circuit has identified various factors the district court may

consider, the common nature of these factors directs the trial court to consider as its

ultimate inquiry whether the expert’s testimony is sufficiently reliable, relevant, and non-

prejudicial to be helpful to the finder of fact and thus to warrant admission at trial. United

States v. Valencia, 600 F.3d 389, 424 (5th Cir. 2010).

       Importantly, in a jury trial setting, the Court’s role under Daubert is not to weigh the

expert testimony to the point of supplanting the jury’s fact-finding role. See Micro Chem.,

Inc. v. Lextron, Inc., 317 F.3d 1387, 1391–92 (Fed. Cir. 2003) (applying Fifth Circuit law)

(“When, as here, the parties’ experts rely on conflicting sets of facts, it is not the role of

the trial court to evaluate the correctness of facts underlying one expert’s testimony.”);

Pipitone v. Biomatrix, Inc., 288 F.3d 239, 249–50 (5th Cir. 2002) (“[t]he trial court’s role




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as gatekeeper [under Daubert] is not intended to serve as a replacement for the adversary

system. . . . Thus, while exercising its role as a [gatekeeper], a trial court must take care not

to transform a Daubert hearing into a trial on the merits”) (quoting Fed. R. Evid. 702

advisory committee note). Instead, the Court’s role is limited to that of a gatekeeper,

ensuring that the evidence in dispute is at least sufficiently reliable and relevant so as to be

appropriate for the jury’s consideration. See Pipitone, 288 F.3d at 249–50. “Vigorous cross-

examination, presentation of contrary evidence, and careful instruction on the burden of

proof are the traditional and appropriate means of attacking shaky but admissible

evidence.” Daubert, 509 U.S. at 596; see Mathis v. Exxon Corp., 302 F.3d 448, 461 (5th

Cir. 2002).

       Finally, in addition to Fed. R. Evid. 702, courts should consider other applicable

rules when assessing expert testimony. Daubert, 509 U.S. at 595. Fed. R. Evid. 703, for

example, provides that expert opinions based on otherwise inadmissible hearsay are to be

admitted only if the facts or data are “of a type reasonably relied upon by experts in the

particular field in forming opinions or inferences upon the subject.” Id. (quoting the rule).

And Fed. R. Civ. P. 403 permits the exclusion of relevant evidence “if its probative value

is substantially outweighed by the danger of unfair prejudice, confusion of the issues, or

misleading the jury.” Id. (quoting the rule).

III.   DISCUSSION

       A.     Salazar’s Motion to Exclude Certain Testimony of Christopher Bakewell

       Salazar first moves to exclude portions of Bakewell’s testimony as wrongly




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concluding non-infringing alternatives need not have (1) IR communications capabilities

or (2) the learning capability and related lack of preprogrammed IR codes taught by the

patent. Because Bakewell’s alternatives do not provide some of the advantages of the

claimed limitations, says Salazar, these alternatives are not “acceptable” and Bakewell’s

opinions concerning these alternatives should be excluded. See generally Pl.’s Motion

[Dkt. # 162] at 4–7.

       HTC counters that, “by definition, noninfringing products do not represent an

embodiment of the invention,” and “a noninfringing alternative need not have the patented

feature in order to be deemed ‘acceptable.’” HTC’s Resp. [Dkt. # 173] at 2 (quoting Apple,

Inc. v. Samsung Elecs. Co., No. 11-cv-01846-LHK, 2013 WL 5958178, at *2 (N.D. Cal.

Nov. 7, 2013), and SmithKline Diagnostics, Inc. v. Helena Labs. Corp., 926 F.2d 1161,

1166 (Fed. Cir. 1991)). According to HTC, Bakewell properly considers non-infringing

alternatives that provide the alleged advantages of the purported invention because those

alternatives wirelessly communicate with external devices. Id. at 3–6.

       The concept of an “acceptable non-infringing alternative” relates to a lost-profits

damage model. To recover lost profits, the patentee must show a “reasonable probability

that, ‘but for’ infringement, it would have made the sales that were made by the infringer.”

Presidio Components, Inc. v. Am. Tech. Ceramics Corp., 875 F.3d 1369, 1380 (Fed. Cir.

2017) (quoting Crystal Semiconductor Corp. v. TriTech Microelecs. Int’l, Inc., 246 F.3d

1336, 1353 (Fed. Cir. 2001)). That, in turn, requires the patent owner to prove an absence

of “acceptable” noninfringing substitutes. Presidio Components, 875 F.3d at 1380 (citing




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Panduit Corp. v. Stahlin Bros. Fibre Works, Inc., 575 F.2d 1152 (6th Cir. 1978)). And

although there are no bright-line rules for deciding “acceptability” of a noninfringing

substitute, if the patent owner shows consumers specifically want devices with certain

advantages, non-infringing alternatives cannot be “acceptable” without those advantages.

Slimfold Mfg. Co. v. Kinkead Indus., Inc., 932 F.2d 1453, 1458 (Fed. Cir. 1991).

       But “acceptable non-infringing alternatives” don’t play the same role in a

reasonable-royalty determination. Rather, courts consider the next-best available

alternative, which is not necessarily an “acceptable” alternative that precludes recovery of

lost profits under Panduit. See Grain Processing Corp. v. Am. Maize-Products Co., 185

F.3d 1341, 1351 (Fed. Cir. 1999) (“[O]nly by comparing the patented invention to its next-

best available alternative(s) . . . can the court discern the market value of the patent owner’s

exclusive right, and therefore his expected profit or reward . . . .”); Georgia-Pacific Corp.

v. U.S. Plywood Corp., 318 F. Supp. 1116, 1120 (S.D.N.Y. 1970) (considering “[t]he utility

and advantages of the patent property over the old modes or devices, if any, that had been

used for working out similar results”).

       With this distinction in mind, Salazar’s motion fails on two counts. First, Bakewell’s

opinion doesn’t relate to a lost-profits determination, so it doesn’t matter whether the

alternatives are “acceptable” under Panduit. Instead, the factfinder should consider the

next-best alternative, regardless of whether that alternative would preclude recovery of lost

profits under Panduit. Here, that next-best alternative, at least according to HTC, happens

to lack IR capability and includes preprogrammed codes.




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       Second, even if next-best alternatives must be “acceptable” alternatives under

Panduit, Salazar presents no evidence supporting his contention that devices without IR

capability or with preprogrammed codes are not “acceptable.” The absence of these

limitations in Bakewell’s alternatives does not make them unacceptable, see Apple, Inc. v.

Samsung Elecs. Co., No. 11-cv-01846-LHK, 2013 WL 5958178, at *2 (N.D. Cal. Nov. 7,

2013) (“a noninfringing alternative need not have the patented feature in order to be

deemed ‘acceptable’”), and Salazar presents no evidence consumers specifically want

devices with IR capability or learning capability such that only non-infringing devices with

those features would be “acceptable.” Put simply, even if a next-best alternative in a

reasonable-royalty determination must be “acceptable” under Panduit, Salazar hasn’t met

his burden of proving there are no acceptable non-infringing alternatives here.

       B.     Salazar’s Motion to Exclude Certain Testimony of Dr. Andrew Wolfe

       Salazar next moves to exclude certain testimony of Dr. Andrew Wolfe, HTC’s

technical expert, for two reasons. First, Salazar contends Wolfe’s opinion contradicts the

Court’s claim construction order. Pl.’s Motion [Dkt. # 164] at 5–7. Second, Salazar

complains about Wolfe’s conclusion that devices without IR or learning capability are

“acceptable,” id. at 8–9—i.e., the same arguments Salazar made with respect to Bakewell’s

report and addressed above.

       Salazar’s claim construction argument relates to the “configured to” language of the




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“memory” limitation. 2 Salazar argues Wolfe improperly interprets “configured to” to mean

“actually configured.” Id. at 5 (citing Wolfe Rep. [Dkt. # 164-1] at 58). This, says Salazar,

is contrary to the Court’s claim construction order, which interpreted “configured to” as

only requiring a capability rather than actual use. Id. at 5–6. HTC responds that Wolfe’s

application of “configured to” to his noninfringement analysis does not conflict with the

Court’s construction because the Court did not construe that term. Rather, the Court simply

concluded the “microprocessor” limitation did not render the claim indefinite under IPXL

Holdings, LLC v. Amazon.com, Inc., 430 F.3d 1377 (Fed. Cir. 2005). HTC says Wolfe’s

opinion is consistent with that interpretation because it does not require use of the claimed

device for infringement. Def.’s Resp. [Dkt. # 174] at 4–5.

       The Court agrees with HTC. Although “configured to” composed some of the

disputed claim language, it was not construed. See generally Joint Cl. Constr. & Prehr’g

Statement [Dkt. # 73]. Also, the parties’ arguments about the “microprocessor” limitation

concerned whether that limitation impermissibly includes both apparatus and use

limitations. See generally Cl. Constr. Op. & Order [Dkt. # 108] at 15–22. Wolfe’s opinion,

however, pertains to when the allegedly infringing device comes into existence, not




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  Claim 1, for example, requires “a memory device . . . configured to store a plurality of
parameter sets retrieved by [a] microprocessor so as to recreate a desired command code
set, such that the memory space required to store said parameters is smaller than the
memory space required to store said command code sets.” ’467 Patent at 26:1–6 (emphasis
added).



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whether use of the allegedly infringing device constitutes infringement. 3 Thus, Wolfe’s

opinion is not inconsistent with the Court’s claim construction order, and this part of

Salazar’s motion should be denied.

       The second part of Salazar’s motion concerns Wolfe’s opinions about noninfringing

.alternatives. Salazar reurges the same arguments he made in his motion to exclude

Bakewell’s testimony. Compare Pl.’s Motion [Dkt. # 164] at 8–9, with Pl.’s Motion [Dkt.

# 162] at 4–7. The Court will therefore deny this part of the motion for the reasons set forth

in Part III.A of this opinion.

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       For the foregoing reasons, the Court DENIES both Plaintiff’s Motion to Exclude

Testimony of Christopher Bakewell [Dkt. # 162] and Plaintiff’s Motion to Exclude

Testimony of Andrew Wolfe [Dkt. # 164].
        SIGNED this 3rd day of January, 2012.
       SIGNED this 28th day of March, 2018.




                                                   ____________________________________
                                                   ROY S. PAYNE
                                                   UNITED STATES MAGISTRATE JUDGE

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  In his reply, Salazar argues Wolfe’s own deposition testimony shows user activity is
required. Pl.’s Reply [Dkt. # 184] at 1–2. True, but Wolfe’s position is that user activity is
required to morph the device from non-infringing device to infringing by virtue of the post-
sale configuration process. In other words, Wolfe’s position is that the accused device does
not satisfy the structural requirements of the claims (if at all) until the user does something.
That’s different from the issue considered by the Court during claim construction and
addressed by the Federal Circuit in IPXL Holdings—indefiniteness of a claim that recites
both an infringing device and a method of using that infringing device.



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